                    Case 23-50437-JTD             Doc 12        Filed 09/13/23        Page 1 of 9




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 11

FTX TRADING LTD., et al., 1                                        Case No. 22-11068 (JTD)

          Debtors.                                                 (Jointly Administered)


    ALAMEDA RESEARCH LLC, ALAMEDA
    RESEARCH LTD., FTX TRADING LTD.,
    WEST REALM SHIRES, INC., and WEST
    REALM SHIRES SERVICES, INC.,

                                       Plaintiffs,
                                                                 Adv. Pro. No. 23-50145 (JTD)
                              -against-

    FTX DIGITAL MARKETS LTD., BRIAN C.
    SIMMS, KEVIN G. CAMBRIDGE, and
    PETER GREAVES, and J. DOES 1–20,

                                       Defendants.

    FTX DIGITAL MARKETS LTD., BRIAN C.
    SIMMS, KEVIN G. CAMBRIDGE, and
    PETER GREAVES,
                         Counterclaim
                         Plaintiffs,

                              -against-

    ALAMEDA RESEARCH LLC., et al.,

                                      Counterclaim
                                      Defendants.




1    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
     of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



{1368.002-W0072435.}
                  Case 23-50437-JTD            Doc 12   Filed 09/13/23   Page 2 of 9




ALAMEDA RESEARCH LTD., WEST REALM
SHIRES, INC., and WEST REALM SHIRES
SERVICES, INC.,

                                 Plaintiffs,

                       - against -
                                                          Adv. Pro. No. 23-50381 (JTD)
SAMUEL BANKMAN-FRIED, NISHAD
SINGH, and ZIXIAO “GARY” WANG,

                                 Defendants.

FTX TRADING LTD. and MACLAURIN
INVESTMENTS LTD.,

                                 Plaintiffs,

                       - against -                        Adv. Pro. No. 23-50437 (JTD)
LOREM IPSUM UG, PATRICK GRUHN,
ROBIN MATZKE, and BRANDON WILLIAMS,

Defendants.
ALAMEDA RESEARCH LTD. AND CLIFTON
BAY INVESTMENTS LLC F/K/A ALAMEDA
RESEARCH VENTURES LLC,

                                 Plaintiffs,

                       - against -
                                                          Adv. Pro. No. 23-50411 (JTD)
MICHAEL KIVES, BRYAN BAUM,
K5 GLOBAL HOLDINGS LLC, K5 GLOBAL
TECHNOLOGY LLC, MBK CAPITAL LP
SERIES T, K5 GROWTH CO-INVEST I GP
LLC, K5 GLOBAL GROWTH FUND I GP
LLC, K5 GLOBAL VENTURES LLC, MOUNT
OLYMPUS CAPITAL LP, MOUNT OLYMPUS
CAPITAL LLC, K5 GLOBAL GROWTH
FUND II LP, K5 GLOBAL GROWTH FUND II
GP LLC, K5X FUND I LP, K5X FUND I LLC,
AND SGN ALBANY LLC,
                        Defendants.




{1368.002-W0072435.}                                2
                  Case 23-50437-JTD               Doc 12   Filed 09/13/23   Page 3 of 9




FTX TRADING LTD., ALAMEDA
RESEARCH LLC, ALAMEDA RESEARCH
LTD., NORTH DIMENSION INC.,
COTTONWOOD GROVE LTD. and WEST
REALM SHIRES, INC.,

                                    Plaintiffs,             Adv. Pro. No. 23-50448 (JTD)
                        -against-

SAMUEL BANKMAN-FRIED, ZIXIAO
“GARY” WANG, NISHAD SINGH and
CAROLINE ELLISON,

                                    Defendants.


         AMENDED 2 NOTICE OF AGENDA FOR HEARING SCHEDULED FOR
     SEPTEMBER 13, 2023, AT 1:00 P.M. (ET), BEFORE THE HONORABLE JOHN T.
    DORSEY AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT
      OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 5TH FLOOR,
             COURTROOM NO. 5, WILMINGTON, DELAWARE 19801

        ALL PARTICIPANTS, INCLUDING ATTORNEYS INTENDING
  TO PRESENT AT THE HEARING AND WITNESSES, MUST BE PHYSICALLY
    PRESENT IN THE COURTROOM. ANY NON-PARTICIPANT MAY VIEW
THE HEARING VIA ZOOM BY REGISTERING IN ADVANCE AT THE LINK BELOW
                BY SEPTEMBER 13, 2023 AT 11:00 A.M. (ET)

           Non-participants, please use the following link to register for this hearing:

https://debuscourts.zoomgov.com/meeting/register/vJItc-2oqD0oGY97S7wprSg6YJhguN2f3DA

          After registering your appearance by Zoom, you will receive a confirmation
                    email containing information about joining the hearing.

                       Topic: FTX Trading Ltd., et al. - Case No. 22-11068 (JTD)
                             When: September 13, 2023 at 1:00 p.m. (ET)

           YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM
               OR YOU WILL NOT BE ALLOWED INTO THE MEETING.




2    Amended items appear in bold.

{1368.002-W0072435.}                                   3
                  Case 23-50437-JTD       Doc 12      Filed 09/13/23     Page 4 of 9




ADJOURNED MATTERS:

1.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Alameda
         Research Ltd. v. Samuel Bankman-Fried, et al., Adv. No. 23-50381 (JTD) – Adv. D.I. 3,
         filed on May 24, 2023]

         Status: This matter is adjourned to a date to be determined.

2.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Alameda
         Research LLC et al. v. FTX Digital Markets Ltd. et al., Adv. No. 23-50145 (JTD) –
         Adv. D.I. 35, filed on July 27, 2023]

         Status: This matter is adjourned to a date to be determined.

3.       Motion of 101 Second Street, Inc. for Allowance and Payment of Administrative Claim
         Pursuant to 11 U.S.C. §§ 503 (b)(a), and 507(a) [D.I. 1802, filed June 29, 2023]

         Status: This matter is adjourned to the hearing scheduled for October 4, 2023 at 1:00 p.m.
         (ET).

4.       Joint Omnibus Motion of the Debtors and the Official Committee of Unsecured Creditors
         Pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1 for an Order Authorizing the
         Issuance of Subpoenas for Discovery from Silicon Valley Accountants, Silvergate Bank,
         and Evolve Bank & Trust [D.I. 1874, filed on July 17, 2023]

         Status: This matter is adjourned to the hearing scheduled for October 4, 2023 at 1:00 p.m.
         (ET).

5.       Motion of Debtors to Enter Into, and Perform Their Obligations Under, the Reimbursement
         Agreements [D.I. 2238, filed on August 23, 2023]

         Status: This matter is adjourned to the hearing scheduled for October 4, 2023 at 1:00 p.m.
         (ET).

RESOLVED MATTERS:

6.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [FTX Trading
         Ltd. and Maclaurin Investments Ltd. v. Lorem Ipsum UG, et al., Adv. No. 23-50437 (JTD)
         – Adv. D.I. 3, filed on July 18, 2023]

         Status: On August 23, 2023, the Court approved the Case Management Plan and
         Scheduling Order. Accordingly, a hearing on this matter is no longer required.

7.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Alameda
         Research Ltd et. al. v. Kives et. al. Adv No. 23-50411 (JTD) – Adv. D.I. 5, filed on July 26,
         2023]


{1368.002-W0072435.}                              4
                  Case 23-50437-JTD       Doc 12      Filed 09/13/23    Page 5 of 9




         Status: On August 31, 2023, the Court approved the Case Management Plan and
         Scheduling Order. Accordingly, a hearing on this matter is no longer required.

8.       Debtors’ Fifth Omnibus Motion for Entry of an Order Authorizing the Debtors to Reject
         Certain Executory Contracts Effective as of the Rejection Date [D.I. 2270, filed on August
         30, 2023]

         Status: The Debtors have submitted an Order under Certification of Counsel.
         Accordingly, a hearing on this matter is not required, unless the Court has any
         questions.

9.       Debtors’ Motion for Entry of an Order (A) Authorizing the Debtors to Enter into Settlement
         Agreement with the Genesis Entities, (B) Approving the Settlement Agreement, and (C)
         Granting Related Relief [D.I. 2190, filed on August 16, 2023]

         Status: On September 6, 2023, the Court entered an order granting the relief requested.
         Accordingly, a hearing regarding this matter is not required.

10.      First Interim Fee Application of Morgan, Lewis & Bockius LLP as Counsel to Emergent
         Fidelity Technologies Ltd for the Period of February 3, 2023 Through July 31, 2023 [D.I.
         2180, filed on August 15, 2023]

         Status: The Emergent Debtor is not subject to the interim compensation order at D.I. 435
         or the fee examiner order at D.I. 834 and have submitted an order under certification of
         counsel seeking approval of the fee application of Morgan, Lewis & Bockius LLP.
         Accordingly, a hearing regarding this matter is not required, unless the Court has any
         questions.

11.      Summons and Notice of Pretrial Conference in an Adversary Proceeding [FTX Trading
         Ltd. et. al. v. Samuel Bankman-Fried et. al. Adv No. 23-50448 (JTD) – Adv. D.I. 3, filed
         on July 25, 2023]

         Status: A scheduling order has been filed and submitted under certification of counsel
         in accordance with the Court’s procedures. Accordingly, a hearing on this matter is
         no longer required, unless the Court has any questions.

MATTERS GOING FORWARD:

12.      Debtors’ Motion for Entry of an Order Authorizing and Approving (I) Guidelines for the
         Sale or Transfer of Certain Digital Assets, (II) the Sale or Transfer of Such Digital Assets
         in Accordance with Such Guidelines Free and Clear of Any Liens, Claims, Interests and
         Encumbrances, (III) the Debtors’ Entry into, and Performance Under, Postpetition Hedging
         Arrangements, Including Granting Liens and Superpriority Administrative Expense
         Claims in Connection Therewith and (IV) the Debtors to Stake Certain Digital Assets [D.I.
         2239, filed on August 23, 2023]



{1368.002-W0072435.}                              5
                  Case 23-50437-JTD         Doc 12      Filed 09/13/23    Page 6 of 9




         Response Deadline: September 6, 2023 at 4:00 p.m. (ET); extended for the Office of the
         United States Trustee to September 7, 2023 at 4:00 p.m. (ET) and September 11, 2023 for
         the Committee.

         Responses Received:

         A.       Reservation of Rights of the U.S. Securities and Exchange Commission to
                  (A) Debtors’ Motion for Entry of an Order Authorizing and Approving
                  (I) Guidelines for the Sale or Transfer of Certain Digital Assets, (II) the Sale or
                  Transfer of Such Digital Assets in Accordance With Such Guidelines Free and
                  Clear of any Liens, Claims, Interests and Encumbrances, (III) the Debtors Entry
                  into, and Performance Under, Postpetition Hedging Arrangements, Including
                  Granting Liens and Superpriority Administrative Expense Claims in Connection
                  Therewith and (IV) the Debtors to Stake Certain Digital Assets; and (B) Debtors
                  Motion for an Order Authorizing FTX Trading Ltd. to Enter into, and Perform its
                  Obligations Under, the Investment Services Agreement [D.I. 2438, filed on
                  September 6, 2023]

         B.       United States Trustee’s Objection to Debtors’ Motion for Entry of an Order
                  Authorizing and Approving (I) Guidelines for the Sale or Transfer of Certain
                  Digital Assets, (II) the Sale or Transfer of Such Digital Assets in Accordance with
                  Such Guidelines Free and Clear of Any Liens, Claims, Interests and Encumbrances,
                  (III) the Debtors' Entry into, and Performance Under, Postpetition Hedging
                  Arrangements, Including Granting Liens and Superpriority Administrative Expense
                  Claims in Connection Therewith and (IV) the Debtors to Stake Certain Digital
                  Assets [D.I. 2452, filed on September 7, 2023]

         C.       Letter Regarding Debtors’ Motion for Entry of an order Authorizing and
                  Approving (I) Guidelines for the Sale or Transfer of Certain Digital Assets
                  [D.I. 2493, filed on September 12, 2023]

         D.       Informal comments from the Official Committee of Unsecured Creditors, the
                  Ad Hoc Committee of Non-US Customers of FTX.com (the “Ad Hoc
                  Committee”) and Galaxy Digital Capital Management

         Related Documents:

         A.       Debtors’ Reply in Support of Motion of Debtors for Entry of an Order Authorizing
                  and Approving (I) Guidelines for the Sale or Transfer of Certain Digital Assets, (II)
                  the Sale or Transfer of Such Digital Assets in Accordance with Such Guidelines
                  Free and Clear of Any Liens, Claims, Interests and Encumbrances, (III) the
                  Debtors’ Entry into, and Performance Under, Postpetition Hedging Arrangements,
                  Including Granting Liens and Superpriority Administrative Expense Claims in
                  Connection Therewith and (IV) the Debtors to Stake Certain Digital Assets [D.I.
                  2458, filed on September 10, 2023]



{1368.002-W0072435.}                                6
                  Case 23-50437-JTD        Doc 12      Filed 09/13/23   Page 7 of 9




         B.       Notice of Filing of Revised Order [D.I. 2495]

         C.       Second Notice of Filing of Revised Order [D.I. 2500]

         Status: This matter is going forward.

13.      Debtors’ Motion for an Order Authorizing FTX Trading Ltd. to Enter Into, and Perform Its
         Obligations Under, the Investment Advisor Agreement [D.I. 2240, filed on August 24,
         2023]

         Response Deadline: September 6, 2023 at 4:00 p.m. (ET); extended for the Office of United
         States Trustee to September 8, 2023 at 4:00 p.m. (ET) and September 11, 2023 for the
         Committee.
         Responses Received:

         A.       Informal comments from the Office of the United States Trustee

         B.       Reservation of Rights of the U.S. Securities and Exchange Commission to
                  (A) Debtors’ Motion for Entry of an Order Authorizing and Approving
                  (I) Guidelines for the Sale or Transfer of Certain Digital Assets, (II) the Sale or
                  Transfer of Such Digital Assets in Accordance With Such Guidelines Free and
                  Clear of any Liens, Claims, Interests and Encumbrances, (III) the Debtors Entry
                  into, and Performance Under, Postpetition Hedging Arrangements, Including
                  Granting Liens and Superpriority Administrative Expense Claims in Connection
                  Therewith and (IV) the Debtors to Stake Certain Digital Assets; and (B) Debtors
                  Motion for an Order Authorizing FTX Trading Ltd. to Enter into, and Perform its
                  Obligations Under, the Investment Services Agreement [D.I. 2438, filed on
                  September 6, 2023]

         C.       Informal comments from the Official Committee of Unsecured Creditors, the
                  Ad Hoc Committee of Non-US Customers of FTX.com (the “Ad Hoc
                  Committee”) and Galaxy Digital Capital Management

         Related Documents:

         A.       Notice of Filing of Revised Order [D.I. 2496]

         Status: This matter is going forward.

14.      Summons and Notice of Pretrial Conference in an Adversary Proceeding [Alameda
         Research Ltd. et al v. Platform Life Sciences Inc. et. al. Adv. No. 23-50444 (JTD) –
         Adv. D.I. 3 & 4, filed on July 21, 2023 & August 2, 2023]

         Related Documents:

         A.       Stipulation for an Extension of Time for Defendants to Respond to Complaint [D.I.
                  15, filed on August 17, 2023]
{1368.002-W0072435.}                               7
                  Case 23-50437-JTD       Doc 12     Filed 09/13/23   Page 8 of 9




         B.       Notice of Proposed Case Management Plan and Scheduling Order [Adv. D.I. 28,
                  filed on September 10, 2023]

         Status: This matter is going forward.

INTERIM FEE APPLICATIONS:

15.      Interim Fee Applications. See Exhibit A attached to D.I. 2477

         Response Deadline: July 5, 2023 at 4:00 p.m. (ET)

Status: The Debtors have submitted an omnibus order with respect to the Interim Fee Applications
at D.I. 1642, 1644, 1645, 1647, 1648 & 1649 under Certification of Counsel. The parties have
agreed to defer the Fee Applications at D.I. 1646 & 1654 (items 4 & 11 in Exhibit A) while they
continue their discussions with the Fee Examiner and/or the Office of the United States Trustee.




{1368.002-W0072435.}                             8
                  Case 23-50437-JTD   Doc 12     Filed 09/13/23   Page 9 of 9




Dated: September 13, 2023                      LANDIS RATH & COBB LLP
       Wilmington, Delaware
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                                               -and-

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                                               and Debtors-in-Possession




{1368.002-W0072435.}                       9
